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Attorneys for Triumphant Gold Limited


                                UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

 IN RE:                                               §    CHAPTER 11
                                                      §
 ROOFTOP GROUP INTERNATIONAL                          §    CASE NO. 19-31443-HDH11
 PTE. LTD,
                                                      §
           Debtor.                                    §

                                          NOTICE OF HEARING
                                        [Relates to Dkt. Nos. 47 and 51]

           PLEASE TAKE NOTICE that a hearing on the Motion for Order Declaring Automatic Stay

  Applies to Debtor Property Under Affiliate Control [Dkt. No. 47] (the “Motion”) filed by

  Triumphant Gold Limited (“Movant”) in the above-referenced case will be heard at the United

  States Bankruptcy Court for the Northern District of Texas, Dallas Division, Earle Cabell Federal

  Building, 1100 Commerce Street, 14th Floor, Courtroom #3, Dallas, Texas 75242 before the

  Honorable Harlin D. Hale on August 16, 2019 at 1:30 p.m. Pursuant to the notice given in the

  Motion, any response to the Motion is due no later than close of business on August 3, 2019.




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Dated: July 25, 2019                   Respectfully submitted,

                                       /s/ Katharine Battaia Clark

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                                       Britton D. McClung
                                       Texas State Bar No. 24060248
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                                       ATTORNEYS FOR MOVANT




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                                    CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the above and foregoing instrument has been
served electronically via the Court’s ECF noticing system on those parties who receive notice from
that system on the 25th day of July, 2019 and on the following parties pursuant to Local Rule 4001-
1(a) by regular United States mail to addresses within the United States and by Federal Express to
addresses outside the Unites States, *with courtesy copy by email:

 The Debtor                                      Counsel to the Debtor:
 Rooftop Group International Pte. Ltd.           Michael P. Cooley
 5218 Spruce Street                              Lindsey L. Robin
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                                                 2501 N. Harwood, Suite 1700
                                                 Dallas, Texas 75201

 Committee Members:                              Counsel to Disney Consumer Products
 * Brian Dlugash                                 Thomas A. Connop
 4A, 12 Shipyard Lane                            Matthew H. Davis
 Quarry Lane, Hong Kong                          LOCKE LORD LLP
 Hong Kong                                       2200 Ross Avenue, Suite 2800
 bdd@wpl.com.hk                                  Dallas, Texas 75201

 *PICA Australia Pty., Ltd.                      Darren Scott Matloff, individually
 c/o Sian Mimmo, Managing Director               Mr. Darren Matloff
 11/37 Keilor Park Drive                         c/o Law Office of Sarah M. Cox
 Keilor Park 3042                                12770 Coit Road, Suite 1100
 Australia                                       Dallas, TX 75251
 sian@pica.com.au

 *Begaline Limited                               US Trustee
 c/o Tan Aik Keong, Director                     Office of the United States Trustee
 Mailing Address:                                c/o Nancy Resnick, trial attorney
 57B Devonshire Road #15-06                      Earle Cabell Federal Building
 Singapore 239899                                1100 Commerce Street, Room 976
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                                                     /s/ Katharine Battaia Clark
                                                     Katharine Battaia Clark




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